                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                COOKEVILLE DIVISION


 SARAH BETH CAIN,                                 )
                                                  )
         Plaintiff,                               )
                                                  )
 v.                                               )    NO. 2:17-cv-00055
                                                  )    CHIEF JUDGE CRENSHAW
 TENNESSEE TECHNOLOGICAL                          )
 UNIVERSITY, ET AL.,                              )
                                                  )
         Defendants.


                                             ORDER

        Plaintiff’s Motion for Exemption from PACER Service Fees (Doc. No. 31) is DENIED

because Plaintiff has not demonstrated why an exemption is needed to avoid any unreasonable

burden. That being said, if Plaintiff still wishes to use PACER, she may do so without cost as long

as she avoids incurring more than the free maximum usage per quarter. Plaintiff may call the

PACER Service Center at (800) 676-6856 for more information. In addition, if Plaintiff registers

as an e-filer with the Court’s Electronic Case Filing (ECF) system, each time a document is e-filed

in this case, Plaintiff will receive a “Notice of Electronic Filing” e-mail, which will allow her to

view the document for free one time.

        IT IS SO ORDERED.



                                              ____________________________________
                                              WAVERLY D. CRENSHAW, JR.
                                              CHIEF UNITED STATES DISTRICT JUDGE




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